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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

DuWAYNE MASON * NO. 2:11-cv-00826(J)(1), cAw MDL No. 2179
VERSUS * JUDGE CARL BARBIER
SEACOR MARINE, LEC * MAGISTRATE JUDGE SALLY SHUSHAN

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PROPOSED ORDER

WHEREFORE, it is hereby ordered that plaintiffs request for oral argument be
granted.

New Orleans, Louisiana, this day of , 2012.

UNITED STATES DISTRICT JUDGE
